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February 11, 2022

The Honorable Zahid N. Quraishi, U.S.D.C.J.
United States District Court-—-District of New Jersey
Clarkson S. Fisher Building & U.S, Courthouse

402 East State Street

Room 2020

Trenton, NJ 08608

(via electronic filing)

Re: — Lavine v. Princeton Medical Group, P.A. et al.
Civil Action No: 3:21-CV-17099-ZNQ-LHG

Dear Judge Quraishi,

I represent Shingo, Aiko, and Adam Lavine, the plaintiffs in the above-referenced action.
On February 7, 2022, counsel for the defendant, American Academy of Pediatrics, Inc. (“AAP”),
filed, without leave of court, a “notice of supplemental authority” attaching and discussing
Pacira Biosciences Inc. vy. American Society of Anesthesiologists, No, 2:21-cv-9264-MCA (Feb.
4, 2022). In that “notice”, AAP purports to characterize—and, in fact, mischaracterizes—the
holding in Pacira.

Mindful of Local Rule 7.1(d)(6), we would not presume to respond to the substance of
AAP’s “notice” without leave of Court; accordingly, we respectfully request leave to briefly
respond to AAP’s mischaracterization of Pacira.

Respectfully submitted,

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Andrew DeLaney, ESQ.

 
